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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


 CHAUENGA M HAKEEM,                              Case No. 19-cv-02161-VC
               Plaintiff,

         v.

 TRANSDEV SERVICES, INC., et al.,
               Defendants.

 JENNIFER RICHARDS,                             Case No. 20-cv-06425-WHA (VC)
               Plaintiff,
                                                ORDER SETTING CMC
         v.

 TRANSDEV BUS ON DEMAND, LLC, et
 al.,
          Defendants.
       A case management conference is scheduled in the above cases at 2 p.m. on November

10, 2020 via zoom. At the case management conference, the parties should be prepared to

discuss whether the Richards case should be stayed pending the outcome of the Hakeem case.

       A joint case management statement is due 7 days before the case management

conference.

       IT IS SO ORDERED.

Dated: October 21, 2020
                                           ______________________________________
                                           VINCE CHHABRIA
                                           United States District Judge
